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                      EXHIBIT A
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                                           CONSULTING AGREEMENT

       THIS LICENSE AGREEMENT (the "Agreement") is made and entered into this J i' :' , day of i" \,-,-"'l,,, -;;
   2005 (the "Effective Date") , by and between Des ir~e Tanner [ Tanner"), _an inqividual residin g in the ~t".te of j
cAtIlah, and having an address at ,1\'-1 v-' n fL ,lY' (( ' f( I{ );.r: \ (' (' k ( V_'I'I'/={" i~ ' ( Ii ( lk I). , and
   Provo Craft and Novelty, Inc. (hereinafter referred to as "Provo Craft"), a corporat ion duly organized under the
   laws of the State of Utah, and having its registered office at 151 East 3450 North, Spanish Fork, Utah 84660.

         WHEREAS , Tanner has been a consultant to Provo Craft for a number of years.

       WHEREAS , Provo Craft desires to continue to retain Tanner as a consultant on various Provo Craft projects
   and products; and

         WHEREAS , Provo Craft and Tanner wish to formalize their ongoing relationship through this Agreement.

       NOW, THEREFORE, in consideration of the mutual promises contained herein , the parties, intending to be
   legally bound , hereby agree as follows:

                                               ARTICLE 1 - DEFIN ITIONS

   As used herein, the following terms shall have the meanings set forth below:

   1,1      "Consulting Services" means and includes 1) the responsibilities, duties and services set forth in
            Schedule A; and 2) any other additional responsibilities, duties or services requested by Provo Craft and
            mutually agreed upon by the parties hereto and set forth in writing in a new Schedule A or an addendum
            to Schedule A, Such additional responsibilities, duties or services being deemed by the parties hereto
            to be fully supported by the consideration set forth in this Agreement with no additional consideration
            required therefor.

   1.2      "Roya lty-Based Products" means those products, identified by SKU number, set forth in Schedule B or
            those products mutually agreed upon by the parties hereto and set forth in writing in a new Schedule B
            or an addendum to Schedule B,

   1,3      "Ancillary Products" means any product, identified by SKU number, that is sold and branded with the
            Royalty-Based Products and is set forth in Schedule B or those products mutually agreed upon by the
            parties hereto and set forth in writing in a new Schedule B or an addendum to Schedule S,

   1.4      "Net Sales Price" means the price invoiced by Provo Craft to its customers less credits and returns, Net
            Sales Price shall not include sales taxes , freight charges, and similar items,

   1.5      "Consulting Fee" means the amount to be paid to Tanner hereunder which shall be in an amount equal
            to the Net Sales Price times the Consulting Fee Rate set forth in Schedule S,

   1.6      "Royalty" means the amount to be paid to Tanner hereunder which shall be in an amount equal to the
            Net Sales Price times the Royalty Rate set forth in Schedule S,

   1,7     "Confidential Information" means all materials provided to Tanner that are identified (both orally or in
           writing) as confidential; all material or information not generally known outside of the business of Provo
           Craft or Provo Craft's affiliates (and information and material that becomes known outside of the
           businesses of Provo Craft or the Provo Craft's Affiliates as a result of a breach by Tanner of its
           obligations hereunder) and/or which is confidential or proprietary to Provo Craft or any Provo Craft
           affiliate , including, but not limited to, products developed, being developed and/or to be marketed ,
           promoted or otherwise supported by Provo Craft or any Provo Craft affiliate, the Intellectual Property
           Rights therein prior to the ir authorized publication or public disclosure by Provo Craft (and provided that
           all unpublished or undisclosed portions of the foregoing shall continue to be treated as confidential
           hereunder); all business plans and financial, marketing, sales, product, research and development
           plans, and other business information of Provo Craft or any Provo Craft affiliate; material or information
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         disclosed to Tanner or of which Tanner became aware only by virtue of its work for, with or on beha lf of
         Provo Craft or an Provo Craft Affiliate; and the terms and cond itions of this Agreement.

 1.8     "Intellectual Property Right" and "Intellectual Property Rights" means one or more of the Copyrights,
         Trademarks, Patent Rights and Other Rights, and specifically including , but not lim ited to, the right to i)
         sue for, assert claims or demands , settle andlor release, and recover damages and all other remedies
         at law or equity for any past, present or future infringement , misappropriation or other violation of the
         same, ii) seek and obtain protection therefor (including without limitation the right to seek and obtain
         copyright registrations, Letters Patent and Trademark Registrations) in the United States and all other
         countries in Provo Craft's name (or otherwise as Provo Craft may desire), and iii ) claim all rights and
         priority thereunder to the extent, if any, that Tanner may be entitled to claim any such rights.

                                      ARTICLE 2 - CONSULTING SERVICES

2.1      Tanner shall perform the Consulting Services. The payment of Consulting Fees hereunder shall be
         predicated upon the continued performance by Tanner of the Consulting Services.

                                          ARTICLE 3 - COMPENSATION

3.1     As compensation for the performance of the Consulting Services, Tanner shall be paid a Consulting Fee
        for the sale of Royalty-Based Products and Ancillary Products set forth in Schedule B.

3.2     Provo Craft shall also pay to Tanner a Royalty for the sale of Royalty-Based Products and Ancillary
        Products set forth in Schedule B.

3.2     No Consulting Fee or Royalty hereunder shall be due or owing for any sales of any products, whether or
        not identified as Royalty-Based Products or Ancillary Products for which Tanner did not provide
        Consulting Services relating thereto. No Consulting Fee or Royalty hereunder shall be due or owing for
        any sales of Ancillary Products that are not branded and sold with the Royalt y-Based Products. No
        Consulting Fee or Royalty hereunder shall be due or owing for any sales of the Royalty-Based Products
        or Ancillary Products that are sold at or below Provo Craft's cost or at closeout prices.

3.3     Provo Craft and Tanner shall in good fa it h seek to mutually agree upon products that are to be included
        as Royalty-Based Products or Ancillary Products in Schedule B or an Addendum to Schedule B and the
        Royalty Ra tes and Consulting Fee Rates therefor. If the parties hereto cannot reach such a mutual
        agreement, Provo Craft shall have sole authority to determine if a product qualifies as a Royalty-Based
        Product or Ancillary Product and, if so, set the Royalty Rate and Consulting Fee Rate therefore.

3.4     The Net Sales Price to which the Consulting Fee Rate or Royalty Rate may apply may be prorated for
        Royalty-Based Products or Ancillary Products that are packaged together with or combined with other
        products that are not typically branded with the Royalty-Based Products . The amount of the prorated
        share of the Net Sales Price shall be at Provo Craft's sole discretion, but shall genera lly be
        approximately equal to the wholesale price of the Ancillary Product(s) when sold alone as compared to
        the wholesale price of the products that are not typically branded with the Royalty-Based Products.
        Consulting Fee and Royalty payments due hereunder shall be made on a quarterly basis or as
        otherwise agreed to by the parties.

                                          ARTICLE 4 - PERFORMANCE

4.1     Tanner shall provide the Consulting Services as reasonably requested by and in a reasonable manner
        and a reasonable time specified by Provo Craft. Should Tanner fa il to provide or become unable to
        provide the Consulting Services, whether voluntarily or inVOluntarily, as reasonably requested and
        specified by Provo Craft, Provo Craft may, at its sole discretion, withhold andlor term inate all future
        Consulting Fees that have not accrued at the time of such fa ilure to provide or inability to provide the
        Consulting Services.

4.2     In circumstances where a cure is possible, Tanner shall have thirty (30) days to cure any fa ilure to
        provide the Consulting Services. Any delay caused by a failure to perform the Consulting Service s may
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        resull in a corresponding delay by Provo Craft in payment of Consulting Fees. In a case where a cure is
        not possible, Provo Craft may withhold a portion of Consulting Fees due to offset any costs associated
        with the fai lure to perform the Consulting Services. Provo Craf: shall notify Tanner of any such offset
        and the amount thereof. Provo Craft shall at its sale discretion determine the acceptance or rejection of
        any such cure or attempted cure by Tanner.

4.3     The Roya lties due hereunder shall not be affected by the performance, or lack thereof, of the Consulting
        Services.

                                    ARTICLE 5 - RECORDS AND PAYMENTS

5.1     Provo Craft agrees to keep accurate books of account and records covering all transact ion relating to
        the Consulting Fees and Royalties due hereunder throughout the term of this Agreement.

5.2     Provo Craft shall furnish Tanner with a Statement along with payment of Consulting Fees and Royalties
        due hereunder. Provo Craft shall also provide a detail of any Royalty-Based Products or Ancillary
        Products sold at or below Provo Craft's cost or at closeout prices , as part of a package or combination
        for which the roya lty has been prorated and/or any offset of royalties pursuant to Section 3.3 or 4.2
        above.

5.3    Tanner shall have the right to object to any Statement or payment hereunder as long as Tanner
       provides to Provo Craft written notice of same including the nature of and grounds for such objection
       within thirty (30) days after Tanner' receipt of the relevant statement or payment.

                  ARTICLE 6 - INTELLECTUAL PROPERTY RIGHTS AND ENFORCEMENT

6.1    Tanner acknowledges and agrees that Provo Craft shall be the owner of all right, title and interest in and
       to the Royalty-Based Products and Ancillary Products or any other product or Intellectual Property Right
       resulting from the Consulting Services, including, but not lim ited to , all Intellectual Property Rights
       therein. Tanner agrees to and hereby irrevocably assigns, sells, transfers, grants and conveys all of her
       worldwide right, title and interest in and to any improvements or contributions to the Royalty-Based
       Products and Ancillary Products from the moment of creation to Provo Craft, its successors and ass igns
       (without the necessity of any further consideration or action on the part of Provo Craft or Tanner),
       including, but not limited to, all Intellectual Property Rights therein, for perpetuity (or for the longest
       period of time otherwise perm itted by law) (and insofa r as ownership of the Designs or the Inte llectual
       Property Rights therein are not deemed to vest in or be owned by Provo Craft by operation of law) , the
       same to be held and enjoyed by Provo Craft, its successors and assigns to the same extent that such
       right, title and interest would have been held and enjoyed by Tanner if this assignment had not been
       made.

6.2     Tanner without reservation hereby binds herself, her successors, assigns and legal representatives to
        coopera te fully and promptly with Provo Craft and to do all acts necessary or required to be don e or
        requested by Provo Craft in order to perfect title to all Intellectual Property Righ ts in the newly
        developed Royalty-Based Products, ancillary products or as a result of any of the Consulting Services
        therein in Provo Craft and in connection with the maintenance, enforcement or defense of such
        Intellectual Property Rights and all other proceedings before the United States Patent and Trademark
        Office ("PTO"), the United States Copyright Office and similar foreign offices without the necessity of
       further considera tion from Provo Craft but at Provo Craft's reasonable expense, including, without
        limitation, to execute and deliver to Provo Craft any and all lawful application documents including
       petitions, specifications, oaths, assignments , disclaimers and lawful affidavits in form and substance as
       may be requested by Provo Craft (including but not limited to copyright, trademark and patent
       assignments) to communicate to Provo Craft all facts known to it relating to any copyright subject
       matter, trade secrets and inventions, to furnish Provo Craft with any and all information, documents,
       materials or records of any kind (and in any media) in its control that may be useful for establishing the
       facts of conceptions , disclosures , and reduction to practice and the like; to testify in, and assist in Provo
       Craft's preparation for, all legal , administrative or other proceedings (including without limitation in
       connection with the reissue application and any reexamination, interference or other proceeding before
       the PTO or Copyright Office); to sign, execute and deliver all lawful papers when called upon to do so
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        that may be necessary or desirable In connection with the fo regoing; and generally to do everything
        pos sib le to aid Provo Craft in connection with the forego ing in the United States and other countries.
        Tanner appoints Provo Craft as her agent and attorney-in-fact to act for and on her behalf in connection
        w ith the foregoing , which apPointment is irre vocable and coupled w ith an interest.


                         ARTICLE 7 - CONFIDENTIALITY AND NON-COMPETITI ON

7.1    All Confidential Information shall at all times remain the property of Provo Craft. Both during the period
       of retention by Provo Craft and thereafter, Tanner shall maintain the same in confidence and shall take
       all necessary steps (includ ing those reasonably directed by Provo Craft) to carefully safeguard and
       prevent the disclosure thereof. Tanner shall not (and shall not permit others to) , wi thout the prior written
       consent of Provo Craft , directly or indirectly publish , disclose, transfer, distribute , release or perm it
       others to have access (by electronic means or in any other way) to the Confidential Information. The
       confidentiality and nondisclosure obligat ions set forth herein shall survive the expiration or termination of
       this Agreement, except only with respect to any portion of the Confidentia l Information that itself is, and
       whose technical and commercial significance is, made conveniently available to the applicable trade or
       portion of the public by Provo Craft, disclosed to Tanner by a third party who did not obtain the same
       directly or indirectly from Provo Craft or was known to Tanner (in writing) prior to disclosure to It by
       Provo Craft, provided, however, that notwithstanding anything to the contrary in this Agreement, in the
       event that any Confidential Information is included in or made part of a patent application, the
       confidentiality and nondisclosure obligations set forth herein with respect to such Confidential
       Information shall remain in effect in the United States or a foreign jurisdiction, as warranted , until each
       such aspect of the Confidential Information is disclosed in an issued patent or published by a
       government patent office.

7.2     Nothing in this Agreement nor Provo Craft's disclosure of the Confidential Information shall be deemed,
       by implication or otherwise, to grant Tanner any licensed interest or property right in, under or to any of
       the Confidential Information or Intellectual Property. Tanner acknowledges and agrees that she has no
       right to and will not (a) commercially exploit the Confidential Information or Intellectual Property except
       as required to perform the Consulting Services and as expressly authorized by Provo Craft, (b) prepare
       Derivative Works of any part of the Confidential Information or Intellectual Property, except as required
       to perform the Consulting Services and as expressly authorized by Provo Craft, (c) make a copy of or
       store any part of the Confidential Information or Intellectual Property in any computer or in any
       magnetic, optical or similar medium or in digital form without the prior express consent of Provo Craft,
       (d) grant third parties any rights thereunder, (e) claim , apply for or obtain Intellectual Property Rights in
       the Confidential Information (f) contest (or assist others in contesting) Provo Craft's right to secure
       Intellectual Property Rights hereunder.

7.3    During the term of this Agreement and for a period of one (1) year after term ination of this Agreement by
       either party, Tanner shall not compete directly or indirectly with Provo Craft , cause or encourage any
       third party to compete directly or indirectly with Provo Craft, work for any competitor of Provo Craft , or
       provide any of the Consulting Services for any other entity or third party without the express written
       consent of Provo Craft.

7.3    Nothing in th is Agreement shall be deemed, by implication or otherwise, to form an affiliation,
       association or other connection between Provo Craft and Tanner beyond the scope of the Consulting
       Services or grant Tanner any authority beyond that necessary to perform the Consulting Services.
       Tanner shall not take any action or make any statement, oral or written, that would cause or appear to
       create such an affil iation, association, or other connection between Provo Craft and Tanner or appear to
       grant such authority without the express written consent of Provo Craft and shall in all instances deny
       the same.
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                                     AR TICLE 8 - TERM AND TERM INATI ON

 8.1     Unless termina ted, this Agreement sha ll rema in in effect so long as Provo Craft sells any of the Royalty-
         Based Products or Ancillary Products set forth in Schedule B.

 8.2     The terms relat ing to the payment of Consulting Fees hereunder shall remain in effect so long as Provo
         Craft retains Tanner as a consultant and Tanner performs the Consulting Services.

8.3     Either party shall have the right to terminate this Agreement in the event that the other party commits a
        materia l breach of any provision of this Agreement wh ich is not cured within thirty (30) days after rece ipt
        of written notice from the non-breaching party. Wth respect to Tanner, a material breach of th is
        Agreement shall be limited to a breach of the terms and conditions of Article 6 or Article 7 herein and
        shall not include Tanners ab ility to satisfactorily perform or inability to perform the Consult ing Service s.
        A mater ial breach by Tanner that is not cured to the satisfaction of Provo Craft shall relieve Provo Craft
        of non-accrued Consulting Fees and Royalties.

8.4     Provo Craft or Tanner may terminate th is Agreement for any reason by giving the other party thirty (30)
        days advanced written notice. Shou ld such termination be based upon a reason other than for a
        material breach by Tanner or upon Tanner's ability to satisfactorily perform or inability to perform the
        Consulting Services , the terms rel ating to the payment of Royalties hereunder shall survive such
        terminat ion. Such termination shall relieve Provo Craft of the payment of non-accru ed Consu lting Fees.

8.5     Term ination of this' Agreement shall in no way prevent or encumber Provo Craft's ri ght to continue or
        begin to manufacture , distribute and/or sell the Royalty-Based Products and Anci llary Products .

8.6     The provi sions of this Agreement with respect to Confidential Information and Intellectual Property shall
        survive expiration or term ination of this Agreement and continue indefinitely thereafter.

                                      ARTICLE 9 - GENERAL PROVI SIONS

9.1     To the extent that any provision, portion or extent of this Agreement is determined to be inva lid, illegal or
        unenforceable, such provision, portion or extent shall be severed or deleted herefrom or limited so as to
        give effect to the intent of the parties insofar as possible and that the remainder of the Agreement shall
        remain b inding upon the parties. The invalidity or unenforceability of any provision hereof shall not affect
        the validity or enforceability of any other provision. All references to particular Sect ions are to Sections
        contained in th is Agreement. The captions in this Agreement are inserted for convenience of reference
        only and do not constitute a part of the Agreement and shall not modify or lim it any of the terms thereof.

9.2     This Agreement (a) constitutes the entire understanding between the parties concerning the subject
        matter hereof and supersedes any prior agreements or understandings whether written or oral , and (b)
        may not be amended except in a writing executed by all part ies. The parties hereto agree that the
        venue for any litigation or dispute arising out of this Agreement shall be in Utah and that the Federal and
        State courts therein shall have jurisdiction over the subject matter and the parties .

9.3     A waiver, express or implied, by either party hereto of any rights hereunder, for fa ilure to perform or
        breach by the other party hereto, shall not be deemed as a wa iver of any other right hereunder or of any
        other breach or fai lure of such other party hereto, whether of a similar or dissimilar nature thereto and
        shall not be deemed a continuing waiver of any breach or failure hereunder.

9.4     Th is Agreement shall be bind ing upon and inure to the benefit of the parties hereto and their respective
        representat ives , he irs, successors, and assigns. Tanner shall not be entitled to ass ign her interest in
        this Agre ement without the prior wri tten consent of Provo Craft.
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IN WITN ESS WHEREO F, and intending to be lega lly bound hereby, the parties have cause d this instrument to
be duly executed as of the Effective Date written above.

Date :           /''C
           1-: "'("~        '~
                     J 'J ,'J    /                     By: Tanner



                                                       Desiree Tanner (an individual)


Date: _ _ __ _ _ _ __ __ _ _ __                        By: Provo Craft and Novelty , Inc,



                                                       Robert Workman, CEO




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                                                  SCHEDULE A
                                               (Consul ing Services)

 All Provo Craft policy and procedures must be followed and mainta ined . Expense policy procedures must be
 follow ed and control led.

Training: Provide tra ining services on an as-needed basis . Such training services shall include , but not be
limited to the training of in-house customer service personnel and sales representatives and key accounts
whether in-house or at their place of business as required.

Trade Shows: Attending and teaching at specified trade shows fro m tim e-to-time as needed and mutua lly
agreed to by the parties .

Ellison Educational : Interfacing on Provo Craft's behalf with Ellison Educationa l on all design and educational
issues.

New Product Deve lopment: Seeking and discovering new product opportun ities for Provo Craft including , but
not limited to, obtaining info rmation regarding the relevanl market, current trends and evolving trends , sourcing
including sourcing from other industries and the development of new and original product ideas.

Recruiting, Selecting and Overseeing Artists and Des igners:
                A. Actively recruiting new artists and designers at shows
                B. Reviewing artwork and designs that are subm itted to Provo Craft
                C. Following up with artists and designers who submit portfolios
                D. Setting up meetings with artists and designers to review their artwork and determ ine a fit or
                     program
                E. Selling artists and designers on producVconcept so they will submit artwork.
                F. Making requests or calls for art
                G. Selecting artists and designers to work on particu lar projects based on knowledge of artists'
                     style, abilities and past efficiency.
                H. Regular phone or in-person contact with art ists and designers while working on a project
                I. Working with artists and des igners to modify artwork to fit product concept or custom er
                     requests
                J. Following up with art ists and designers to keep them updated on the status of their artwork
                     and designs or projects they are working on
                K. Letting artists and designers know if artwork or designs have been accepted for production
                L. Letting PLM know which artwork, designs, artists and designers are approved for a product
                M. Continuing to work with artists and designers as a product evolves
                N. Collecting art work and developments from artists and designers
                O. Making sure that the artists and designers have executed all applicable contracts with
                     Provo Craft regarding non-d isclosure, non-compete and royalty agreements.
                P. Working with PLM to make sure artists and designers get any required samples once the
                     product is produced
                Q . Forwarding used/unused artwork and designs onto the other Creative Leads to be cross-
                    promoted and/or used in other programs.

Viability Studies: Preparing for viability by completing viability form and preparing sample artwork or visual
aides to help committee members conceptualize the proposal. Prepare mock up samples of product when
possible to visually show hot the product will look when com plete. Also taking steps to establish acceptable
pricing guide lines in the relevant market and sourcing within Provo Craft's exist ing vendors to establish Provo
Craft's ability to meet pricing expectat ions.

Working closely w ith PLM and Marketing Team to coordinate look and fe el of packaging , samples, and
storyboards .

Being an active member of product line team , including without limitation , preparing samples for meetings,
preparing to present and educate about new products in viavbility and line extension meetings , for sales or their
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customers at shows , etc., working with in-house designers to         o ~ta i n   project sam ples or prototypes , helping to
prepare for Kick-off meetings in conjunction with PLM .

Show Preparation: Subm itting and/or he lping evaluate Make 'n' Take Proposals, preparing demonstrations of
product lines , review ing and preparing product samples for displays at shows .

Writing scripts for promotional television and video opportunit ies.
Traveling to location of promotional television and video opportunities and participating in such as needed.
Traveling to location of scrapbooking programs.
Attending consumer shows.
Visiting key accounts or making presentations with or to sales representatives.

In addition to and without limiting the foregoing , with specific reference to S izz ix ~ and Kuttr~~ product lines.
                 A Developing programs                                                        : , ". , <..\ Vl{ , , ,-:<'- ..
                 B. Gathering and Assigning new designs
                 C. Reworking existing designs
                 D. Organizing all Des igns and ensuring correct formatting
                 E. Recruit new designers/artists
                 F. Coordinating launch periods and content
                 G. Coordinating all ideas, designs and communication with PLMs
                 H. Conveying royalty information as provided by Provo Craft
                 I.  Supporting sales staff with samples and teaching, selling and explaining programs.
                 J . Scouting, res earching and developing major trends in des ign
                 K Deve loping and "pitching" article concepts and editorial opportunities to major magazines
                 L. Developing positive working relationships with other companies in the industry to cross-
                     promote
                 M. Advising and coordinating Sizzix' machine and die placement to key designers in the
                     industry
                 N. Advise on packaging
                 O. Coordinating press releases
                 P. Following-up on all designs from conception to QC
                 Q. Answering customer service questions
                 R. Travel as needed



Date:                                                           By: Tanner




                                                                Desiree Tanner (an individual)




Date:                                                           By: Provo Craft and Novelty, Inc.




                                                               Robert Workman, CEO
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                                                                                        SCHEDULE B
                                                                          (Royalty-Based Produ cts and Royal ty Rates)

       Royalty-Based Product:                                                                           Royalty Rate               Consulting Fee Rate:

       Sizzix' branded steel rule dies                                                                  1/2%                       1/2%
               SKU No.                                                                                  1/2%                       1/2%
               SKU No.                                                                                  1/2%                       1/2%
               SKU No.                                                                                  1/2%                       112%
               SKU No.                                                                                  1/2 %                      1/2%
               SKU No                                                                                   1/2%                       1/2%
               SKU No. _____________________                                                            1/2 %                      1/2%
               SKU No. _____________________                                                            1/2%                       1/2%
               SKU No. _____________________                                                            1/2%                       1/2%

       S izz ix~   branded Ancillary Products                                                           up to 2% (to be negotiated)
                   SKU No. ___________________
                   SKU No. _____________________
                   SKU No. _____________________
                   SKU No. _____________________
                   SKU No. ___________________
                   SKU No. ___________________
                   SKU No.
                   SKU No.

      KO ttr™ brar[cted electronic cutting mach ines-
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      KOttr™ branded Ancillary Products
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           ·..! SKU No. -----------------------
                SKU No. _____________________
                SKU No.
                SKU No.
                SKU No.
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                                                                   .,.~                         By: Tanner




                                                                                               Desiree Tanner (an individual)



                                                    .'
                                                         /
      Date:                                                                                    By: Provo Craft and Novelty, Inc.
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                      (               .!
                                           I                                                                             '),


                                                                                               Robert Workman, CEO             = ------
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IN WITNESS WHEREO F, and inlending to be legally bound hereby, the parties have caused th is instrument to
be duly executed as of the Effective Dale written above.

Date:                                                 By: Tanner



                                                      Desiree Tanner (an individual)


Date: _ _~./",
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                           - _ _/""'-_ __             By: Provo Craft an~elty , Inc.

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                                                      Robert V\I(}rMian, CEO
